Case 4:21-mj-00190-BJ Document1 Filed 03/25/21 Pageiof15 PagelD1

AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

In the Matter ofttre-Search of

(Briefly describe the property to be searched
or identify the person by name and address)

Healers cee

Case No.

The use of a Cell-Site Simulator to Locate the Cellular
Device Assigned Call Number 682-812-0622, whose
wireless provider is T-Mobile

APPLICATION FOR A SEARCH WARRANT

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Nae ee et ee

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A.

located inthe | District of New Jersey , there is now concealed (identify the

 

person or describe the property to be seized):
See Attachment B

The basis for the search under Fed. R. Crim. P. 41(c) is (eheck one or more):
of evidence of a crime;
o contraband, fruits of crime, or other items illegally possessed;
of property designed for use, intended for use, or used in committing a crime;

Ma person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Cede Section Offense Description
21 U.S.C. § 846 Conspiracy to Possess with Intent to Distribute a Controlled Substance
18 U.S.C. § 924(c)(1)(A) Possession of a Firearm in Furtherance of a Drug Trafficking Crime

The application is based on these facts:

See attached Affidavit of HS! Deportation Officer/Task Force Officer Eugenio Vela.

Continued on the attached sheet.
1 Delayed notice of days (give exact ending date if more than 30 days: ) is requested

under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

 

= LA 7
a ee A pplicant’s signature

Deportation Officer/Task Force Officer Eugenio Vela, HS!

Printed name and title

 

Sworn to me over the telephone or by other electronic means and signed by suant

ee 4.1
Date: Mocha AOA |

City and state: Fort Worth, Texas Jeff

7/7 Pr ited name and title

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

IN THE MATTER OF THE USE OF A
CELL-SITE SIMULATOR TO LOCATE

THE CELLULAR DEVICE ASSIGNED Ne oe taeceaall
[Filed Under Seal]
CALL NUMBER (682) 812-0622 2

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Eugenio Vela, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a search warrant under
Federal Rule of Criminal Procedure 41 to authorize law enforcement to employ an
electronic investigative technique, which is described in Attachment B, to determine the
location of the cellular device assigned call number 682-812-0622, (the “Target Cellular
Device”), which is described in Attachment A.

2. Your affiant is a Deportation/Task Force Officer with the United States
Department of Homeland Security Immigration and Customs Enforcement (“ICE”),
Homeland Security Investigations (“HSI”) and has been so employed by ICE for
approximately thirteen years. Your affiant is currently assigned to the Homeland
Security Investigations Dallas Gang Unit. The Gang Unit includes federal, state, and
local officers investigating illegal gang and narcotic activity in the Dallas/Fort Worth

area,

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Your affiant has participated in numerous investigations involving narcotics, street gangs,
and violent crime. Your affiant has also participated in numerous investigations of
alleged illegal narcotics trafficking and conspiracy and is thoroughly familiar with the
investigative techniques used in these investigations, such as the use of undercover
agents, the use of cooperating witnesses and confidential informants, the analysis of
telephone pen register and trap and trace information, search and seizure warrants, grand
jury investigations, and the interception of wire, electronic, and oral communications.

3. The facts in this affidavit come from my personal observations, my training
and experience, and information obtained from other agents and witnesses. This affidavit
is intended to show merely that there is sufficient probable cause for the requested
warrant and does not set forth all of my knowledge about this matter.

4. One purpose of applying for this warrant is to determine with precision the
Target Cellular Device’s location. However, there is reason to believe the Target
Cellular Device is currently located somewhere within this district because the target of
this investigation and subject of an arrest warrant by this court, Alvaro Jovani
RANGEL-Ramirez was in contact with a Fort Worth Police Department (F WPD)
Undercover Officer (UC) via Instagram. Furthermore, in March of 2021, the UC was
contacted by RANGEL using the Target Cellular Device via FaceTime from number
(682) 812-0622. RANGEL advised the UC that he was in Dallas, Texas and could meet
the UC later in the evening. The Target Cellular Device number area code (682) is

associated with the Northern District of Texas.

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The Target Cellular Device’s owner resides at 4612 Fawn Street, Fort Worth, Texas, is
known to spend most of his time in this district, and has continued to use Instagram, up to
the present time, to post items to social media from within this district. Pursuant to Rule
41(b)(2), law enforcement may locate the Target Cellular Device outside the district
provided the device is within the district when the warrant is issued.

5. Based on the facts set forth in this affidavit, there is probable cause to
believe that RANGEL has violated Title 21 United States Code 846, Conspiracy to
Possess with Intent to Distribute a Controlled Substance and Title 18 United States Code
924(c)(1)(A), Possession of a Firearm in Furtherance of a Drug Trafficking Crime.
RANGEL was charged with these crimes on March 10, 2021, pursuant to a federal
complaint and is the subject of an arrest warrant issued by this Court on March 10, 2021,
under case number 4:21-MJ-162. There is also probable cause to believe that RANGEL
is aware of these charges and has fled, as a search warrant was executed at his residence
on March 9, 2021, evidence of his offenses was seized, and a potential coconspirator was
arrested. There is also probable cause to believe that the Target Cellular Device’s location
will assist law enforcement in arresting RANGEL, who is a “person to be arrested” within
the meaning of Federal Rule of Criminal Procedure 41(c)(4).

6. Because collecting the information authorized by this warrant may fall
within the statutory definitions of a “pen register” or a “trap and trace device,” see 18
U.S.C. § 3127(3) & (4), this warrant is designed to comply with the Pen Register Statute
as well as Rule 41. See 18 U.S.C. 8§ 3121-3127. This warrant therefore includes all the
information required to be included in a pen register order. See 18 U.S.C. § 3123(b)(1).

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PROBABLE CAUSE

8. In September 2020, Fort Worth Police Department (F WPD) officers were
conducting surveillance on social media when officers came across a Snap Chat account
with the name of “Trapbaby1017.” The user from the account “Trapbaby 1017” was
posting several videos and pictures of different types of marijuana. The user of the same
account posted several pictures of himself holding a firearm. In addition, the user posted
a video of a red Dodge Hellcat and a black Chevrolet Corvette. A system record query
identified the Chevrolet Corvette as registered to Alvaro Jovani RANGEL-Ramirez.
Officers then found a picture of RANGEL in the police portal that matched the picture of
the Hispanic male using the Snap Chat account “Trapbaby 1017.”

9, On October 1, 2020, officers again observed RANGEL, the user of the
account “Trapbaby1017,” post pictures of individual prices for different strains of
marijuana. Officers then used an undercover Snap Chat account to ask RANGEL for a
“zip of runtz” (street name for runtz is a type of marijuana and zip is a common street
name of one (1) ounce), on a picture that he posted. RANGEL replied and requested to
chat on live in order to confirm that the account was a real person. Afterwards RANGEL
sent a screenshot of a Hobby Lobby Store, which had the address of 5020 Hulen Street,
Fort Worth, Texas, circled for the meet location. An undercover officer agreed to meet up
at the predetermined location. After officers arrived at the predetermined location,
RANGEL sent a message through Snap Chat to the undercover account stating that he

was almost there.

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Soon after, officers saw RANGEL pull into the Hobby Lobby parking lot in the
aforementioned black Chevrolet Corvette. RANGEL left the parking lot in the black
Chevrolet Corvette and traveled to the address of 4612 Fawn Drive, Fort Worth, Texas
76132.

10. On October 5, 2020, officers were conducting surveillance at the residence
located at 4612 Fawn Drive, Fort Worth, Texas, when they observed in the driveway the
red in color Dodge Hellcat that was also seen in RANGEL’s “Trapbaby1017” social
media account. Officers observed a Hispanic female get in the driver seat and drive the
red Dodge. Officers followed the red Dodge to the same Hobby Lobby parking lot that
was set by “Trapbaby1017” previously. Officers observed the Hispanic female meet a
black Chevrolet Corvette occupied by a Hispanic male. The Hispanic male handed her
cash and she handed the male something small. The meet lasted approximately thirty (30)
seconds, and in officers’ training and experience, appeared to be a narcotics transaction.
The Hispanic female then left the location in the red Dodge and was followed back to
4612 Fawn Drive.

11. Also, on October 5, 2020, at approximately 2030 hours, the red Dodge was
seen pulling out of the driveway of 4612 Fawn Drive, Fort Worth, Texas. The vehicle
was occupied by RANGEL in the driver seat and the Hispanic female in the front
passenger seat. The red Dodge failed to use a turn signal at 5400 Westhaven Drive while
turning onto 4600 South Drive. FWPD officers then conducted a traffic stop at the 4000

block of Belden Avenue, Fort Worth, Texas.

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The driver of the red Dodge was identified as Alvaro Jovani RANGEL-Ramirez, DOB:
03/13/1997, and the passenger was identified as Verania Caroline Zuniga. During the
traffic stop, officers could smell the odor of marijuana emitting from the red Dodge
Hellcat. Officers asked RANGEL if there was anything illegal in the vehicle, and
RANGEL stated he had a few grams of “weed” (street name for marijuana) along with a
pistol. Officers conducted a probable cause search of the vehicle and recovered
approximately 8.15 ounces of marijuana and an FN Herstal 5.7x28 caliber pistol, bearing
serial number 386381207.

12. Officers read RANGEL his Miranda Warnings, and he acknowledged he
understood his rights and agreed to waive his rights to speak with officers. RANGEL
stated that he had been selling marijuana for roughly 6 to 8 months and had been getting
a pound of marijuana from an individual in Arlington, Texas. RANGEL stated he had
about a quarter pound of marijuana and handguns at the house located at 4612 Fawn
Drive, Fort Worth, Texas. On that same date, officers obtained and executed a state
search warrant for the residence located at 4612 Fawn Drive, Fort Worth, Texas. During
the search, officers located and seized numerous firearms throughout the house and a
green leafy substance, which officers, through training and experience, knew to be
marihuana, The marihuana had an approximate field weight of 28.85

ounces.

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13. Onthat date, RANGEL was placed under arrest for state charges of
Unlawful Carrying Weapon and Possession of Marijuana > 4 oz. <= 5 Ibs. and
transported to the Fort Worth City Jail without incident. RANGEL was later released on
a bond on the state charges.

14. In the ensuing months following his October 5, 2020, arrest officers have
continued to observe evidence on RANGEL’s social media accounts of RANGEL
engaging in the possession of controlled substances with intent to distribute and
possessing firearms in furtherance of drug trafficking crimes. Officers were able to
identify the Instagram account “RxMexico” as belonging to RANGEL based on pictures
and videos posted on the account where RANGEL was the primary subject of the
pictures and videos.

15. In December of 2020 and January, February, and March of 2021,

RANGEL used the Instagram account “RxMexico” to post pictures and videos of what
appeared to be marijuana, promethazine with codeine prescription bottles (a Schedule V
controlled substance), him mixing blue/purple drank/lean (street name for promethazine
with codeine syrup and soft drink), and THC vapor cartridges and edibles. These items
where often posted with prices or other statements indicating that RANGEL was offering
the controlled substances for sale. In addition, RANGEL used the “RxMexico” Instagram
account to post large stacks of money, a money counter, and numerous firearms,

including a Glock .45 caliber pistol and an FN Herstal, Model PS90, 5.7x28mm semi-

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automatic carbine. Moreover, RANGEL regularly posted videos or photos of the firearms
together with controlled substances or money.

16. For example, on March 2, 2021, RANGEL used the “RxMexico”
Instagram account to post a video of an FN Herstal, Model PS90, 5.7x28mm semi-
automatic carbine together with a prescription bottle of promethazine with codeine syrup
and a bottle of yellow soda. On that same date, he posted videos of soda being mixed
with promethazine with codeine syrup, including one with the label “400 hunnit soda,”
indicating that RANGEL was offering to sell the soda mixed with promethazine and
codeine for $400.

17. On March 2, 2021, a federal search warrant was obtained for RANGEL’s
residence at 4612 Fawn Drive, Fort Worth, Texas, along with a search warrant for a 2015
BMW I8 sedan that was regularly seen at the residence and in RANGEL’s Instagram
posts. The residential search warrant was executed on March 9, 2021, During the
execution of the search warrant at RANGEL’s residence, agents discovered multiple
controlled substances, multiple firearms, and other indicia of drug trafficking, all
consistent with RANGEL’s posts on social media.

18. Ona bookshelf in plain view next to the bed where RANGEL slept, agents
located two (2) prescription bottles containing promethazine with codeine syrup, along
with one (1) blue soda bottle that appeared to contain soda mixed with promethazine with
codeine syrup. One of the prescription bottles contained 81.45 grams of promethazine
with codeine syrup, and the other prescription bottle contained 99.95 grams of
promethazine with codeine syrup.

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In a garbage bag in the garage, agents found 4.26 kilograms of a green leafy plant-like
substance, which agents recognized through training and experience as marihuana. In
addition, agents located other indicia of drug trafficking, including a digital scale and a
digital money counter.

1 On a bookshelf in plain view next to the bed where RANGEL slept, agents
located a Glock Model 30 Gen. 4, .45 caliber pistol, bearing serial number BAYA033.
Inside a box next to the bed where RANGEL slept, officers found the following
firearms: a Century Arms RAS47, 7.62x39mm AK-47 style pistol, bearing serial number
RAS47111093; a Century Arms C39, 7.62x39mm AK-47 style pistol, bearing serial
number 39WM001667; and an FN Herstal, Model PS90, 5.7x28mm semi-automatic
carbine, bearing serial number FN114686. The FN Herstal, Model PS90 carbine is the
same firearm, described above, that RANGEL posted along with promethazine with
codeine syrup on his “RxMexico” account on March 2, 2021.

MANNER OF EXECUTION

20. In my training and experience, I have learned that cellular phones and
other cellular devices communicate wirelessly across a network of cellular infrastructure,
including towers that route and connect individual communications. When sending or
receiving a communication, a cellular device broadcasts certain signals to the cellular
tower that is routing its communication. These signals include a cellular device’s unique

identifiers.

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21. To facilitate execution of this warrant, law enforcement may use an
investigative device or devices capable of broadcasting signals that will be received by
the Target Cellular Device or receiving signals from nearby cellular devices, including
the Target Cellular Device. Such a device may function in some respects like a cellular
tower, except that it will not be connected to the cellular network and cannot be used by a
cell phone to communicate with others. The device may send a signal to the Target
Cellular Device and thereby prompt it to send signals that include the unique identifier of
the device. Law enforcement may monitor the signals broadcast by the Target Cellular
Device and use that information to determine the Target Cellular Device’s location, even
if it is located inside a house, apartment, or other building.

le The investigative device may interrupt cellular service of phones or other
cellular devices within its immediate vicinity. Any service disruption to non-target
devices will be brief and temporary, and all operations will attempt to limit the
interference with such devices. In order to connect with the Target Cellular Device, the
device may briefly exchange signals with all phones or other cellular devices in its
vicinity. These signals may include cell phone identifiers. The device will not complete
a connection with cellular devices determined not to be the Target Cellular Device, and
law enforcement will limit collection of information from devices other than the Target
Cellular Device. To the extent that any information from a cellular device other than the
Target Cellular Device is collected by the law enforcement device, law enforcement will

delete that information, and law enforcement will make no investigative use of it absent

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further order of the court, other than distinguishing the Target Cellular Device from all
other cellular devices.
AUTHORIZATION REQUEST

23. Based on the foregoing, I request that the Court issue the proposed search
warrant, pursuant to Federal Rule of Criminal Procedure 41. The proposed warrant also
will function as a pen register order under 18 U.S.C. § 3123.

24. ‘| further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of
Criminal Procedure 41(f)(3), that the Court authorize the officer executing the warrant to
delay notice until 30 days from the end of the period of authorized surveillance.

This delay is justified because there is reasonable cause to believe that providing
immediate notification of the warrant may have an adverse result, as defined in 18 U.S.C.
§ 2705. Providing immediate notice to the subscriber or user of the Target Cellular
Device would seriously jeopardize the ongoing investigation, as such a disclosure would
give that person an opportunity to destroy evidence, change patterns of behavior, notify
confederates, and continue to flee from prosecution. See 18 U.S.C. § 3103a(b)(1). There
is reasonable necessity for the use of the technique described above, for the reasons set
forth above. See 18 U.S.C. § 3103a(b)(2).

25. — I further request that the Court authorize execution of the warrant at any
time of day or night, owing to the potential need to locate the Target Cellular Device

outside of daytime hours.

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26. A-search warrant may not be legally necessary to compel the investigative
technique described herein. Nevertheless, I hereby submit this warrant application out of

an abundance of caution.

 

 

Deportation Officer/Task Force Officer
Homeland Security Investigations

Sworn to me, over the telephone or other electronic means, ae signed by me
pursuant to Fed.R.Crim.P. 4.1 on this 25th day of March, 2021 ¢ at IO! 5] a.m. in
Fort Worth, Texas.

   

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ATTACHMENT A

This warrant authorizes the use of the electronic investigative technique described
in Attachment B to identify the location of the cellular device assigned phone number
(682) 812-0622, whose wireless provider is T-Mobile, and whose listed subscriber is

Verania Caroline Zuniga, RANGEL’s girlfriend.

Attachment A
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ATTACHMENT B

Pursuant to an investigation of Alvaro RANGEL-Ramirez for a violation of Title
21 United States Code 846, Conspiracy to Possess with Intent to Distribute a Controlled
Substance and Title 18 United States Code 924(c)(1)(A), Possession of a Firearm in
Furtherance of a Drug Trafficking Crime, this Warrant authorizes the officers to whom it
is directed to determine the location of the cellular device identified in Attachment A by
collecting and examining:

1. radio signals emitted by the target cellular device for the purpose of
communicating with cellular infrastructure, including towers that route and

connect individual communications; and

i)

radio signals emitted by the target cellular device in response to radio signals sent
to the cellular device by the officers;

for a period of thirty days, during all times of day and night. This warrant does not
authorize the interception of any telephone calls, text messages, other electronic
communications, and this warrant prohibits the seizure of any tangible property. The
Court finds reasonable necessity for the use of the technique authorized above. See 18

U.S.C. § 3103a(b)(2).

Attachment B
